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             EXHIBIT G
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From: Mathiowetz, Duane H. [mailto:DMathiowetz@schiffhardin.com]
Sent: Wednesday, October 16, 2013 11:32 AM
To: Lauren Nowierski
Subject: RE: Deposition Subpoena Directed to PixArt Imaging (U.S.A.)


Lauren:

Any decision on the subpoena? Let me know today, if possible.

Regards,

Duane



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Duane H. Mathiowetz             One Market                              t 415.901.8645
Partner                         Spear Street Tower, Suite 3200          f 415.901.8701
                                San Francisco, CA 94105                 e dmathiowetz@schiffhardin.com
                                www.schiffhardin.com




From: Lauren Nowierski [mailto:LNowierski@desmaraisllp.com]
Sent: Tuesday, October 01, 2013 5:12 PM
To: Mathiowetz, Duane H.
Cc: Round Rock PC Assertion Service
Subject: RE: Deposition Subpoena Directed to PixArt Imaging (U.S.A.)




Duane:

I apologize for the delay in my response. We would like more time to consider Pixart Imaging’s objections to the
subpoena for testimony.

In light of that, I propose that we continue the date of the subpoena from Friday, October 4, 2013 to Friday, October 18,
2013 to provide us with the time necessary to fully consider Pixart’s objections. I will provide you with our response to
your email as soon as I can.

Please let me know if you have any questions or concerns with that proposed course.

Kind regards,

Lauren

From: Mathiowetz, Duane H. [mailto:DMathiowetz@schiffhardin.com]
Sent: Monday, September 30, 2013 7:16 PM


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To: Lauren Nowierski
Subject: RE: Deposition Subpoena Directed to PixArt Imaging (U.S.A.)


Thanks, Lauren. I do need your response by Tuesday, to give me time to prepare the motion to quash prior to the date of
the deposition.



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                                 www.schiffhardin.com




From: Lauren Nowierski [mailto:LNowierski@desmaraisllp.com]
Sent: Saturday, September 28, 2013 1:40 AM
To: Mathiowetz, Duane H.
Cc: Justin Wilcox; Edward Terchunian
Subject: RE: Deposition Subpoena Directed to PixArt Imaging (U.S.A.)




Duane:

I apologize, I am out on vacation this week, and will not be returning to the office until Monday. I will reply to your
email on Monday.

Kind regards,

Lauren



From: Mathiowetz, Duane H. [mailto:DMathiowetz@schiffhardin.com]
Sent: Friday, September 27, 2013 3:47 PM
To: Lauren Nowierski
Subject: Deposition Subpoena Directed to PixArt Imaging (U.S.A.)


Dear Lauren:

On Wednesday, I sent you PixArt U.S.A.’s objections to the deposition subpoena served on it on September 12, 2013,
with a request that Round Rock either withdraw the subpoena or provide written confirmation that it does not intend to go
forward with the deposition. I have not received a response. Please advise us today of Round Rock’s position so that we
can either close the matter or prepare a motion to quash, as appropriate.

Thanks and regards,

Duane




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